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                 EXHIBIT 6
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               Separately, l met with Will and discussed the fact that OCTO is for technology customer work
                     at a level well above the SE Architects. He has done an amazing job of building the
                     team, he is probably the best hiring manager in cloud. But outside of that, there is a lot of
                     confusion about OCTO, it seems part Product management, part vertical, part product
                     marketing. He agreed and we both agreed that we probably need to move that out so we
                     have clear places for things. He was going to go away and think about it. I can never tell
                     with Will but it seemed like an open and good meeting.



               On Wed, Dec 13, 2017 at I0:49 AM, Brian Stevens                                 wrote:

                        Thanks, Diane. I had planned on being 000 tomorrow but I'll be working from
                        Cambridge in the afternoon and then on to NYC for Friday. The bank council that Don
                        Duet and I started is being hosted by Google on Friday and I feel bad for not being
                        there. I can reach out to Julie and try to get something on the calendar.

               On Wed, Dec 13, 2017 at 12:41 PM, Diane Greene                                      wrote:

                        Hi Brian,
                        I'm so sorry for what is happening with your parents and hope that somehow things are
                        improving, I'm glad and I'm certain they are as well, that you are there for them at this
                        time.

               I have a few things I'd love your feedback on but don't want to bother you if you want to be
                        solely focused on family.

               Best,
               Diane




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